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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al., 1                           Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, James Roy, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On January 16, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served by the method set forth on (1) the Overnight Core/2002
Service List attached hereto as Exhibit A; and (2) the Agenda Notice Parties Service List attached
hereto as Exhibit B:

     •       Notice of Agenda for Hearing of Matters Scheduled for January 21, 2025 at 10:00 a.m.
             (ET) [Docket No. 755]




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom
VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight
FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587),
Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American
Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC (5940), American
Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco
S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight
Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836),
Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V,
LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise
Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition,
LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco,
LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group
Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.
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        On January 16, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served (1) by the method set forth on the Core/2002 Service List
attached hereto as Exhibit C, and (2) via Overnight Mail on the Rejection Notice Parties Service
List attached hereto as Exhibit D:

   •   Debtors’ Eleventh Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a) and
       365(a) of the Bankruptcy Code Authorizing the Debtors to Reject Certain Executory
       Contracts, Effective as of the Rejection Date [Docket No. 758]

Dated: January 23, 2025
                                                                    /s/ James Roy
                                                                    James Roy
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 23, 2025, by James Roy, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                               2
                                                                                     SRF 85329
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                       Exhibit A
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                                                                                                                                                  Exhibit A
                                                                                                                                        Overnight Core/2002 Service List
                                                                                                                                           Served as set forth below

                                                     DESCRIPTION                                                        NAME                                            ADDRESS                        FAX                        EMAIL         METHOD OF SERVICE
                                                                                                                                              Attn: Marty L. Brimmage, Jr.
                                                                                                                                              2300 N. Field Street
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                    Suite 1800
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP         Dallas TX 75201                                                 mbrimmage@akingump.com        Email
                                                                                                                                              Attn: Michael S. Stamer, Brad M. Kahn, Avi E. Luf               mstamer@akingump.com
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                    One Bryant Park                                                 bkahn@akingump.com
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP         New York NY 10036                                               aluft@akingump.com            Email
                                                                                                                                              Attn: Michael D. DeBaecke
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                    500 Delaware Avenue, 8th Floor
Committee of the Board of each of the Retaining Debtors                                            Ashby & Geddes, P.A.                       Wilmington DE 19801                                             mdebaecke@ashbygeddes.com     Email
                                                                                                                                              Attn: Matthew P. Austria
                                                                                                                                              1007 N. Orange Street, 4th Floor
Counsel for Dell Financial Services, L.L.C.                                                        Austria Legal, LLC                         Wilmington DE 19801                                             maustria@austriallc.com       Email
                                                                                                                                              Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A.
                                                                                                                                              Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP, Continental Realty                                                    919 North Market Street                                         heilmanl@ballardspahr.com
Corporation, Federal Realty OP LP, FR Grossmont, LLC, Prime/FRIT Mission Hills, LLC, and                                                      11th Floor                                                      roglenl@ballardspahr.com
ShopOne Centers REIT, Inc.                                                                         Ballard Spahr LLP                          Wilmington DE 19801                                             vesperm@ballardspahr.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                          Attn: Kevin M. Newman
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                    Barclay Damon Tower
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                        125 East Jefferson Street
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                          Syracuse NY 13202                                               knewman@barclaydamon.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                          Attn: Niclas A. Ferland
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                    545 Long Wharf Drive
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                        Ninth Floor
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                          New Haven CT 06511                                              nferland@barclaydamon.com     Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                          Attn: Scott L. Fleischer
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                    1270 Avenue of the Americas
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                        Suite 501
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                          New York NY 10020                                               sfleischer@barclaydamon.com   Email
                                                                                                                                              Attn: Kevin G. Collins
                                                                                                                                              222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                                        Barnes & Thornburg LLP                     Wilmington DE 19801                                             kevin.collins@btlaw.com       Email
                                                                                                                                              Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                                              222 Delaware Avenue, Suite 1200                                 kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                                            Barnes & Thornburg LLP                   Wilmington DE 19801                                             mark.owens@btlaw.com          Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                 Attn: Ericka F. Johnson
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                    600 N. Market Street, Suite 400
Roseff LLC                                                                                           Bayard, P.A.                       Wilmington DE 19801                                                   ejohnson@bayardlaw.com        Email
                                                                                                                                        Attn: Elliot M. Smith
                                                                                                                                        127 Public Square, Suite 4900
Counsel to The ChildSmiles Group, LLC a/k/a Abra Health                                       Benesch Friedlander Coplan & Aronoff LLP Cleveland OH 44114                                                     esmith@beneschlaw.com         Email
                                                                                                                                        Attn: Kevin M. Capuzzi, Juan E. Martinez, Jennifer R.
                                                                                                                                        Hoover                                                                kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC, TM2, LLC, The ChildSmiles Group, LLC a/k/a Abra                                              1313 North Market Street, Suite 1201                                  jmartinez@beneschlaw.com
Health                                                                                        Benesch Friedlander Coplan & Aronoff LLP Wilmington DE 19801‐6101                                               jhoover@beneschlaw.com        Email
                                                                                                                                        Attn: Benjamin Potts, Mae Oberste
                                                                                                                                        500 Delaware Avenue
                                                                                                                                        Suite 901                                                             benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP Wilmington DE 19801                                                   mae.oberste@blbglaw.com       Email
                                                                                                                                        Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                                        1251 Avenue of the Americas                                           jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                                     thomas.james@blbglaw.com      Email




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              Case No. 24‐12480 (JTD)                                                                                                              Page 1 of 9
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                                                                                                                                                   Exhibit A
                                                                                                                                         Overnight Core/2002 Service List
                                                                                                                                            Served as set forth below

                                                    DESCRIPTION                                                        NAME                                              ADDRESS                         FAX                           EMAIL         METHOD OF SERVICE
                                                                                                                                               Attn: Scott Blakeley
                                                                                                                                               530 Technology Drive
                                                                                                                                               Suite 100
Cousnel to Doctor's Best Inc                                                                     Blakeley LC                                   Irvine CA 92618                                                   SEB@BlakeleyLC.com              Email
                                                                                                                                               Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L.
                                                                                                                                               Williams                                                          mike.schaedle@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien Agent and DIP                                                    1201 N. Market Street, Suite 800                                  stanley.tarr@blankrome.com
Agent                                                                                            Blank Rome LLP                                Wilmington DE 19801                                               jordan.williams@blankrome.com   Email
                                                                                                                                               Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                                               222 Delaware Ave
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                              Suite 1120                                                        kim@blockleviton.com
Stockholders                                                                                     Block & Leviton, LLP                          Wilmington DE 19801                                               irene@blockleviton.com          Email
                                                                                                                                                                                                                 fitzgeraldb@hcfl.gov
                                                                                                                                               Post Office Box 1110                                              stroupj@hcfl.gov
Counsel to Nancy C. Millan, Hillsborough County Tax Collector                                    Brian T. FitzGerald                           Tampa FL 33601‐1110                                               connorsa@hcfl.gov               Email
                                                                                                                                               Attn: Kristen N. Pate
                                                                                                                                               350 N. Orleans Street
                                                                                                                                               Suite 300
Counsel to Brookfield Properties Retail Inc                                                      Brookfield Properties Retail Inc              Chicago IL 60654‐1607                                             bk@bpretail.com                 Email
                                                                                                                                               Attn: Shawn M. Christianson
                                                                                                                                               425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                                                   Buchalter, A Professional Corporation         San Francisco CA 94105‐3493                                       schristianson@buchalter.com     Email
                                                                                                                                               Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to DDR Carolina                                                 222 Delaware Avenue, Suite 1030
Pavilion, LP, Sylvan Park Apartments, LLC                                                      Burr & Forman LLP                               Wilmington DE 19801                                               jfalgowski@burr.com             Email
                                                                                                                                               Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina Pavilion, LP, Sylvan Park                                             50 North Laura Street, Suite 3000                                 esummers@burr.com
Apartments, LLC                                                                                    Burr & Forman LLP                           Jacksonville FL 32202                                             drobbins@burr.com               Email
                                                                                                                                               Attn: James H. Haithcock, III
                                                                                                                                               420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                                                 Burr & Forman LLP                             Birmingham AL 35203                                               jhaithcock@burr.com             Email
                                                                                                                                               Attn: Richard J. McCord
                                                                                                                                               90 Merrick Avenue
                                                                                                                                               9th Floor
Counsel to 3644 Long Beach Road LLC                                                              Certilman Balin Adler & Hyman, LLP            East Meadow NY 11554                                              rmccord@certilmanbalin.com      Email
                                                                                                                                               Attn: Mark L. Desgrosseilliers
                                                                                                                                               Hercules Plaza
                                                                                                                                               1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                                         Chipman Brown Cicero & Cole, LLP              Wilmington DE 19801                                               desgross@chipmanbrown.com       Email
                                                                                                                                               Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC,                                                      901 Main Street, Suite 6000
Vestar‐CPT Tempe Marketplace, LLC                                                                Clark Hill PLC                                Dallas TX 75202                                                   ahornisher@clarkhill.com        Email
                                                                                                                                               Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC,                                                      824 N. Market Street, Suite 710
Vestar‐CPT Tempe Marketplace, LLC                                                                Clark Hill PLC                                Wilmington DE 19801                                               kgrivner@clarkhill.com          Email
                                                                                                                                               Attn: Bruce Z. Walker
                                                                                                                                               3350 Riverwood Parkway, Suite 1600
Counsel to Horizon Jajo, LLC                                                                     Cohen Pollock Merlin Turner, P.C.             Atlanta GA 30339                                                  bwalker@cpmtlaw.com             Email
                                                                                                                                               Attn: John D. Landwehr
                                                                                                                                               231 Madison Street
Counsel to Missouri Boulevard Investment Company                                                 Cook, Vetter, Doerhoff & Landwehr, P.C.       Jefferson City MO 65101                                           jlandwehr@cvdl.net              Email
                                                                                                                                               Attn: Belkys Escobar
                                                                                                                                               One Harrison Street, SE, 5th Floor
                                                                                                                                               PO Box 7000
Counsel to County of Loudoun, Virginia                                                           County of Loudoun, Virginia                   Leesburg VA 20177‐7000                                            belkys.escobar@loudoun.gov      Email
                                                                                                                                               Attn: William L. Siegel
                                                                                                                                               901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                                           Cowles & Thompson, P.C.                       Dallas TX 75202                                                   bsiegel@cowlesthompson.com      Email




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                                                                                                                                               Exhibit A
                                                                                                                                     Overnight Core/2002 Service List
                                                                                                                                        Served as set forth below

                                                     DESCRIPTION                                                    NAME                                              ADDRESS                        FAX                           EMAIL                  METHOD OF SERVICE
                                                                                                                                           Attn: Brian L. Shaw
                                                                                                                                           123 North Wacker Drive
                                                                                                                                           Suite 1800
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                            Cozen O'Connor                             Chicago IL 60606                                                    bshaw@cozen.com                        Email
                                                                                                                                           Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                                           1201 N. Market Street
                                                                                                                                           Suite 1001                                                          mbenedek@cozen.com
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                            Cozen O'Connor                             Wilmington DE 19801                                                 kekiner@cozen.com                      Email
                                                                                                                                           Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior                                                     1105 North Market Street, Suite 901
Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                         Cross & Simon, LLC                         Wilmington DE 19801                                                 csimon@crosslaw.com                    Email
                                                                                                                                           Attn: Kevin S. Mann
                                                                                                                                           1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                                  Cross & Simon, LLC                         Wilmington DE 19801                                                 kmann@crosslaw.com                     Email
                                                                                                                                           Attn: Stephen B. Porterfield
                                                                                                                                           2311 Highland Avenue South
                                                                                                                                           P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                                     Dentons Sirote PC                          Birmingham AL 35255‐5727                                            stephen.porterfield@dentons.com        Email
                                                                                                                                           Attn: Christopher M. Winter, James C. Carignan
                                                                                                                                           1201 N. Market Street, Suite 501                                    cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                                Duane Morris LLP                           Wilmington DE 19801                                                 jccarignan@duanemorris.com             Email
                                                                                                                                           Attn: Michael T. Gustafson
                                                                                                                                           320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                      Faegre Drinker Biddle & Reath LLP          Chicago IL 60606                                                    mike.gustafson@faegredrinker.com       Email
                                                                                                                                           Attn: Patrick A. Jackson
                                                                                                                                           222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                      Faegre Drinker Biddle & Reath LLP          Wilmington DE 19801                                                 patrick.jackson@faegredrinker.com      Email
                                                                                                                                           Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                                           919 North Market Street
                                                                                                                                           12th Floor                                                          bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                                      Farnan LLP                                 Wilmington DE 19801                                                 mfarnan@farnanlaw.com                  Email
                                                                                                                                           Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                                           3300 Great American Tower
                                                                                                                                           301 East Fourth Street                                              eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                                     Frost Brown Todd LLP                       Cincinnati OH 45202                                                 jkleisinger@fbtlaw.com                 Email
                                                                                                                                           Attn: Sloane B. O’Donnell
                                                                                                                                           Union Trust Building
                                                                                                                                           501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                                            Frost Brown Todd LLP                       Pittsburgh PA 15219                                                 sodonnell@fbtlaw.com                   Email
                                                                                                                                           Attn: Lorenzo Nunez
                                                                                                                                           PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                          GM Financial Leasing                       Arlington TX 76096                                                  Customer.service.bk@gmfinancial.com    Email
                                                                                                                                           Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                                           222 Delaware Avenue
                                                                                                                                           Suite 1600                                                          Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                                      Greenberg Traurig, LLP                     Wilmington DE 19801                                                 Dennis.Meloro@gtlaw.com                Email
                                                                                                                                           Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port of Houston                                              Attn: Property Tax Division
Authority, Harris County Hospital District, and Harris County Department of Education                                                      P.O. Box 2848
(hereinafter “Harris County”)                                                                   Harris County Attorney’s Office            Houston TX 77252                                                    taxbankruptcy.cao@harriscountytx.gov   Email
                                                                                                                                           Attn: Phillip W. Nelson
                                                                                                                                           150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                                 Holland & Knight LLP                       Chicago IL 60606                                                    phillip.nelson@hklaw.com               Email
                                                                                                                                           Centralized Insolvency Operation
                                                                                                                                           1111 Constitution Ave., NW
IRS Insolvency Section                                                                          Internal Revenue Service                   Washington DC 20224                                  855‐235‐6787                                          Facsimile




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                                                                                                                                                    Exhibit A
                                                                                                                                          Overnight Core/2002 Service List
                                                                                                                                             Served as set forth below

                                                    DESCRIPTION                                                      NAME                                                    ADDRESS                          FAX                        EMAIL                   METHOD OF SERVICE
                                                                                                                                                Attn: William J. Levant
                                                                                                                                                910 Harvest Drive
                                                                                                                                                Post Office Box 3037
Counsel to 100 Brentwood Associates, L.P.                                                        Kaplin Stewart Meloff Reiter & Stein, P.C.     Blue Bell PA 19422                                                  wlevant@kaplaw.com                       Email

Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,                                                        Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick         KDWBankruptcyDepartment@kelleydrye.com
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                       3 World Trade Center                                                rlehane@kelleydrye.com
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                    175 Greenwich Street                                                jraviele@kelleydrye.com
Owner LLC, and SITE Centers Corp.                                                                Kelley Drye & Warren LLP                       New York NY 10007                                                   aselick@kelleydrye.com                   Email
                                                                                                                                                Attn: Michelle Leeson, Paralegal, Collections Specialist,
                                                                                                                                                CFCA
                                                                                                 Ken Burton, Jr., Manatee County Tax            1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                                         Collector                                      Brandenton FL 34205‐7863                                            legal@taxcollector.com                   Email
                                                                                                                                                Attn: Scott A. Bachert
                                                                                                                                                1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier Dover LLC,                                                  P. O. Box 9547
Frontier Kissimmee LLC                                                                           Kerrick Bachert PSC                            Bowling Green KY 42102‐9547                                                                                  Overnight Mail
                                                                                                                                                Attn: J. Daniel Albert, Michael McCutcheon
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                               280 King of Prussia Rd                                              dalbert@ktmc.com
Stockholders                                                                                     Kessler Topac Meltzer & Check LLP              Radnor PA 19087                                                     mmcutcheon@ktmc.com                      Email
                                                                                                                                                Attn: Connor K. Casas
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis          333 West Wolf Point Plaza
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                              Chicago IL 60654                                                    connor.casas@kirkland.com                Email
                                                                                                                                                Attn: Steven N. Serajeddini P.C.
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis          601 Lexington Avenue
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                              New York NY 10022                                                   steven.serajeddini@kirkland.com          Email
                                                                                                                                                Attn: Domenic E. Pacitti
                                                                                                                                                919 N. Market Street, Suite 1000
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP            Wilmington DE 19801‐3062                                            dpacitti@klehr.com                       Email
                                                                                                                                                Attn: Morton R. Branzburg
                                                                                                                                                1835 Market Street, Suite 1400
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP            Philadelphia PA 19103                                               mbranzburg@klehr.com                     Email
                                                                                                                                                Attn: Jeffrey Kurtzman
                                                                                                                                                101 N. Washington Avenue
                                                                                                                                                Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                                                   Kurtzman Steady LLC                            Margate NJ 08402                                                    kurtzman@kurtzmansteady.com              Email
                                                                                                                                                Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                                                919 Market Street Suite 1800                                        landis@lrclaw.com
                                                                                                                                                P.O. Box 2087                                                       mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                Landis Rath & Cobb LLP                         Wilmington DE 19801                                                 erogers@lrclaw.com                       Email
                                                                                                                                                Attn: Andrew Sorkin
                                                                                                                                                555 Eleventh Street NW
                                                                                                                                                Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                   Latham & Watkins LLP                           Washington DC 20004                                                 andrew.sorkin@lw.com                     Email
                                                                                                                                                Attn: James Kstanes, Timothy Beau Parker
                                                                                                                                                330 N Wabash Avenue
                                                                                                                                                Suite 2800                                                          james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                   Latham & Watkins LLP                           Chicago IL 60611 Canada                                             beau.parker@lw.com                       Email
                                                                                                                                                Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin                 Jennifer.Ezring@lw.com
                                                                                                                                                1271 Avenue of the Americas                                         James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                                               Latham & Watkins LLP                           New York NY 10020                                                   andrew.sorkin@lw.com                     Email
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                       Attn: Susan E. Kaufan
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                    919 N. Market Street, Suite 460
Owner LLC, and SITE Centers Corp.                                                                Law Office of Susan E. Kaufman                 Wilmington DE 19801                                                 skaufman@skaufmanlaw.com                 Email
                                                                                                                                                Attn: Diane W. Sanders
                                                                                                                                                PO Box 17428
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County, City of McAllen          Linebarger Goggan Blair & Sampson, LLP         Austin TX 78760‐7428                                                austin.bankruptcy@lgbs.com               Email




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                                                                                                                                           Overnight Core/2002 Service List
                                                                                                                                              Served as set forth below

                                                     DESCRIPTION                                                        NAME                                                ADDRESS                    FAX                         EMAIL                METHOD OF SERVICE
                                                                                                                                                  Attn: Don Stecker
                                                                                                                                                  112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                                              Linebarger Goggan Blair & Sampson, LLP      San Antonio TX 78205                                         sanantonio.bankruptcy@lgbs.com       Email
                                                                                                                                                  Attn: John K. Turner
                                                                                                                                                  2777 N. Stemmons Freeway
                                                                                                                                                  Suite 1000
Counsel to Dallas County                                                                              Linebarger Goggan Blair & Sampson, LLP      Dallas TX 75207                                              dallas.bankruptcy@lgbs.com           Email
Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall CAD, Tarrant
County, Navarro County, Smith County, Ellis County, City of Sulphur Springs, Wise County, Tom                                                     Attn: John Kendrick Turner
Green CAD, Grayson County, Gregg County, Prosper ISD, Town of Prosper, City of Carrollton,                                                        3500 Maple Avenue
Northwest ISD, City of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD,                                               Suite 800
Parker CAD                                                                                            Linebarger Goggan Blair & Sampson, LLP      Dallas TX 75219                                              dallas.bankruptcy@lgbs.com           Email

Counsel to Cypress‐Fairbanks ISD, Harris County, Galveston County, Montgomery County, Ford
Bend County, Katy ISD, Harris CO ESD # 08, City of Houston, Montgomery County, Harris CO ESD
# 48, Lone Star College System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston                                                    Attn: Tara L. Grundemeier
County, Harris CO ESD # 09, Cypress‐Fairbanks ISD, Deer Park ISD, Fort Bend County, Houston                                                       PO Box 3064
Comm Coll System, City of Pasadena, Jefferson County                                           Linebarger Goggan Blair & Sampson, LLP             Houston TX 77253‐3064                                        houston_bankruptcy@lgbs.com          Email
                                                                                                                                                  Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior                                                            One Lowenstein Drive                                         metkin@lowenstein.com
Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                               Lowenstein Sandler LLP                      Roseland NJ 07068                                            mpapandrea@lowenstein.com            Email
                                                                                                                                                  Attn: Lisa S. Bonsall
                                                                                                                                                  Four Gateway Center
                                                                                                                                                  100 Mulberry Street
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                       McCarter & English, LLP                     Newark NJ 07102                                              lbonsall@mccarter.com                Email
                                                                                                                                                  Attn: Shannon D. Humiston
                                                                                                                                                  Renaissance Centre
                                                                                                                                                  405 N. King Street, 8th Floor
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                     McCarter & English, LLP                       Wilmington DE 19801                                          shumiston@mccarter.com               Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                           Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                     700 Jeffrey Way, Suite 100
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.       Round Rock TX 78665                                          jparsons@mvbalaw.com                 Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                           Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                     P.O. Box 1269
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.       Round Rock TX 78680‐1269                                     jparsons@mvbalaw.com                 Email
                                                                                                                                                  Attn: David A. Shapiro
                                                                                                                                                  33 N. LaSalle Street
                                                                                                                                                  Suite 1400                                                   dshapiro@mckenna‐law.com
Counsel to Parm Golf Center LLC                                                                       McKenna Storer                              Chicago IL 60602                                             service@mckenna‐law.com              Email
                                                                                                                                                  Attn: Nicole C. Kenworthy
                                                                                                                                                  6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                                           Meyers, Rodbell & Rosenbaum, P.A.           Riverdale MD 20737‐1385                                      bdept@mrrlaw.net                     Email
                                                                                                                                                  Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                                                  1800 West Park Dr., Suite 400                                jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                                                      Mirick, O’Connell, DeMallie & Lougee, LLP   Westborough MA 01581                                         scolbert@mirickoconnell.com          Email
                                                                                                                                                  Attn: Rachel B. Mersky
                                                                                                                                                  1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC                                      Monzack Mersky and Browder, P.A.            Wilmington DE 19801                                          rmersky@monlaw.com                   Email
                                                                                                                                                  Attn: Christopher L. Carter
                                                                                                                                                  One Federal Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                            Morgan, Lewis & Bockius LLP                 Boston MA 02110‐1726                                         christopher.carter@morganlewis.com   Email
                                                                                                                                                  Attn: David K. Shim
                                                                                                                                                  One State Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                            Morgan, Lewis & Bockius LLP                 Hartford CT 06103‐3178                                       david.shim@morganlewis.com           Email




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                                                                                                                                     Overnight Core/2002 Service List
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                                                    DESCRIPTION                                                  NAME                                                   ADDRESS                       FAX                         EMAIL              METHOD OF SERVICE
                                                                                                                                            Attn: Carl N. Kunz, III, Christopher M. Donnelly
                                                                                                                                            500 Delaware Avenue, Suite 1500                                   ckunz@morrisjames.com
Counsel for RCG‐PSC Camp Creek Owner, LLC, University Realty Associates, LLC                  Morris James LLP                              Wilmington DE 19801                                               cdonnelly@morrisjames.com          Email
                                                                                                                                            Attn: Deborah M. Perry
                                                                                                                                            500 N. Akard Street
                                                                                                                                            Suite 4000
Counsel to BC Exchange Salt Pond                                                              Munsch Hardt Kopf & Harr, P.C.                Dallas TX 75201‐6659                                              dperry@munsch.com                  Email
                                                                                                                                            Attn: Timothy J. Fox, Esq
                                                                                                                                            844 King Street, Suite 2207

                                                                                              Office of the United States Trustee for the Lockbox 35
United States Trustee for the District of Delaware                                            District of Delaware                        Wilmington DE 19801                                                 timothy.fox@usdoj.gov              Email
                                                                                                                                          Attn: Brian J. McLaughlin
                                                                                                                                          222 Delaware Avenue
                                                                                                                                          Suite 1105
Counsel to Rockfirm, LLC                                                                      Offit Kurman, PA                            Wilmington DE 19801                                                 Brian.McLaughlin@offitkurman.com   Email
                                                                                                                                          Attn: Tammy Jones
                                                                                                                                          320 Robert S. Kerr
                                                                                                                                          Room 307
Counsel to Oklahoma County Treasurer                                                          Oklahoma County Treasurer                   Oklahoma City OK 73102                                              tammy.jones@oklahomacounty.org     Email
                                                                                                                                          Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                                          919 North Market Street, 17th Floor
                                                                                                                                          P.O. Box 8705                                                       bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                                      Pachulski Stang Ziehl & Jones LLP           Wilmington DE 19899‐8705                                            crobinson@pszjlaw.com              Email
                                                                                                                                          Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S.
                                                                                                                                          Heckel                                                              rfeinstein@pszjlaw.com
                                                                                                                                          780 Third Avenue, 34th Floor                                        akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                                      Pachulski Stang Ziehl & Jones LLP           New York NY 10017                                                   theckel@pszjlaw.com                Email
                                                                                                                                          Attn: Joseph C. Barsalona II
                                                                                                                                          824 North Market Street
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                         Suite 800
Stockholders                                                                                  Pashman Stein Walder Hayden, PC             Wilmington DE 19801                                                 jbarsalona@pashmanstein.com        Email
                                                                                                                                          Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel           jaymegoldstein@paulhastings.com
                                                                                                                                          Fliman                                                              jeremyevans@paulhastings.com
                                                                                                                                          200 Park Avenue                                                     isaacsasson@paulhastings.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                             Paul Hastings LLP                           New York NY 10166                                                   danfliman@paulhastings.com         Email
                                                                                                                                          Attn: Nicholas A. Bassett
                                                                                                                                          2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                             Paul Hastings LLP                           Washington DC 20036                                                 nicholasbassett@paulhastings.com   Email
                                                                                                                                          Attn: Hiram Gutierrez
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,   P.O. Box 2916
Cousnel to Brownsville Independent School District                                            L.L.P                                       McAllen TX 78502                                                    edinburgbankruptcy@pbfcm.com       Email
                                                                                                                                          Attn: Laura J. Monroe
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,   PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                                   L.L.P                                       Lubbock TX 79408                                                    lmbkr@pbfcm.com                    Email
                                                                                                                                          Attn: Sergio E. Garcia
                                                                                                                                          3301 Northland Drive
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,   Suite 505
Counsel to Kerrville Independent School District, Copperas Cove Independent School District   L.L.P                                       Austin TX 78731                                                     sgarcia@pbfcm.com                  Email
                                                                                                                                          Attn: Melissa E. Valdez
                                                                                                                                          1235 North Loop West
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,   Suite 600
Counsel to Magnolia Independent School District and City of Montgomery                        L.L.P.                                      Houston TX 77008                                                    mvaldez@pbfcm.com                  Email
                                                                                                                                          Attn: Alysia Córdova
                                                                                              Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                                       acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office                             L.L.P.                                      Amarillo TX 79105                                                   amabkr@pbfcm.com                   Email




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                                                                                                                                       Overnight Core/2002 Service List
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                                                     DESCRIPTION                                                    NAME                                              ADDRESS                         FAX                          EMAIL       METHOD OF SERVICE
                                                                                                                                             Attn: Elisa Hyder
                                                                                                                                             Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                  1717 Arch Street, Suite 2800
Inc., Royal Canin U.S.A., Inc.                                                                    Polsinelli PC                              Philadelphia PA 19103                                          ehyder@polsinelli.com          Email
                                                                                                                                             Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                  222 Delaware Avenue, Suite 1101                                skatona@polsinelli.com
Inc., Royal Canin U.S.A., Inc.                                                                    Polsinelli PC                              Wilmington DE 19801                                            kdevanney@polsinelli.com       Email

                                                                                                                                             Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                                             1313 N. Market Street                                          jryan@potteranderson.com
                                                                                                                                             6th Floor                                                      bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                    Potter Anderson & Corroon LLP              Wilmington DE 19801                                            esulik@potteranderson.com      Email
                                                                                                                                             Attn: L. Kate Mason
                                                                                                                                             411 E. Wisconsin Avenue
                                                                                                                                             Suite 2400
Counsel to Whirlpool Corporation                                                                  Quarles & Brady LLP                        Milwaukee WI 53202                                             Katie.Mason@quarles.com        Email
                                                                                                                                             Attn: Kurt F. Gwynne, Jason D. Angelo
                                                                                                                                             1201 North Market Street, Suite 1500                           kgwynne@reedsmith.com
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                        Reed Smith LLP                             Wilmington DE 19801                                            jangelo@reedsmith.com          Email
                                                                                                                                             Attn: John H. Knight, Amanda R. Steele, Alexander R.
                                                                                                                                             Steiger
                                                                                                                                             One Rodney Square                                              knight@rlf.com
                                                                                                                                             920 North King Street                                          steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates                                 Richards Layton & Finger PA                Wilmington DE 19801                                            steiger@rlf.com                Email
                                                                                                                                             Attn: Steven Fox
                                                                                                                                             Times Square Tower Suite 2506
                                                                                                                                             Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                                          Riemer & Braunstein LLP                    New York NY 10036                                                                             Overnight Mail
                                                                                                                                             Attn: Michael L. Schlepp
                                                                                                                                             1550 Wewatta Street, Floor 2
Counsel to Wilson AmCap II LLC                                                                    S&D Law                                    Denver CO 80202                                                mschleep@s‐d.com               Email

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                  Attn: Monique B. DiSabatino, Mark Minuti
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                1201 North Market Street, Suite 2300
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                           P.O. Box 1266                                                  monique.disabatino@saul.com
Summerville Station LLC, and Phillips Edison & Company, Beral, LLLP, Laurel Lakes, LLC             Saul Ewing LLP                            Wilmington DE 19899                                            mark.minuti@saul.com           Email

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                  Attn: Turner N. Falk
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                Centre Square West
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                           1500 Market Street, 38th Floor
Summerville Station LLC, and Phillips Edison & Company                                             Saul Ewing LLP                            Philadelphia PA 19102                                          turner.falk@saul.com           Email
                                                                                                                                             Attn: Bankruptcy Department
                                                                                                                                             Brookfield Place
                                                                                                  Securities & Exchange Commission ‐ NY      200 Vesey Street, Suite 400                                    bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                                                Office                                     New York NY 10281‐1022                                         nyrobankruptcy@sec.gov         Email
                                                                                                                                             Attn: Bankruptcy Department
                                                                                                                                             One Penn Center
                                                                                                  Securities & Exchange Commission ‐         1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                                                Philadelphia Office                        Philadelphia PA 19103                                          secbankruptcy@sec.gov          Email
                                                                                                                                             Attn: Alan J. Taylor
                                                                                                                                             29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)                                 Segal McCambridge Singer & Mahoney         Southfield MI 48034                                            ataylor@smsm.com               Email




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                                                    DESCRIPTION                                                  NAME                                                   ADDRESS                      FAX                          EMAIL           METHOD OF SERVICE
                                                                                                                                           Attn: J. David Forsyth
                                                                                                                                           400 Poydras Street
                                                                                                                                           Suite 2550
Counsel to Shanri Holdings Corporation                                                         Sessions, Fishman & Nathan, LLC             New Orleans LA 70130                                            jdf@sessions‐law.com               Email
                                                                                                                                                                                                           bateman@sewkis.com
                                                                                                                                                                                                           patel@sewkis.com
                                                                                                                                             Attn: Gregg Bateman, Sagar Patel, Michael Danenberg,          danenberg@sewkis.com
                                                                                                                                             John R. Ashmead, Gregg S. Bateman, Andrew J. Matott           ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as Prepetition First Lien Agent                                            One Battery Park Plaza                                        bateman@sewkis.com
and DIP Agent                                                                                        Seward & Kissel LLP                     New York NY 10004                                             matott@sewkis.com                  Email
                                                                                                                                             Attn: Eric S. Goldstein                                       egoldstein@goodwin.com
                                                                                                                                             One Constitution Plaza                                        bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                                           Shipman & Goodwin LLP                   Hartford CT 06103‐1919                                        bankruptcyparalegal@goodwin.com    Email
                                                                                                                                             Attn: William F. McDonald III
                                                                                                                                             10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                                              ShopCore Properties                     San Diego CA 92127                                            wmcdonald@shopcore.com             Email
                                                                                                                                             Attn: Ronald M. Tucker
                                                                                                                                             225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                       Simon Property Group, Inc.              Indianapolis IN 46204                                         rtucker@simon.com                  Email
                                                                                                                                             Attn: Michelle E. Shriro
                                                                                                                                             16200 Addison Road, Suite 140
Counsel to Village at the Mall Holdings, LLC, Bridge33 Capital LLC                                   Singer & Levick, P.C.                   Addison TX 75001                                              mshriro@singerlevick.com           Email
                                                                                                                                             Attn: Dana S. Plon
                                                                                                                                             123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                                       Sirlin Lesser & Benson, P.C.            Philadelphia PA 19109                                         dplon@sirlinlaw.com                Email
                                                                                                                                             Attn: Joseph H. Lemkin
                                                                                                                                             PO Box 5315
Counsel to Peoria Rental Properties, LLC                                                             Stark & Stark, P.C.                     Princeton NJ 08543                                            jlemkin@stark‐stark.com            Email
                                                                                                                                             Attn: Sabrina L. Streusand
                                                                                                                                             1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                                             Streusand, Landon Ozburn & Lemmon, LLP Austin TX 78746                                                streusand@slollp.com               Email
                                                                                                                                             Attn: G. James Landon
                                                                                                                                             1801 S. Mopac Expressway, Suite 320
Counsel for Dell Financial Services, L.L.C.                                                          Streusand, Landon, Ozburn & Lemmon, LLP Austin TX 78746                                               landon@slollp.com                  Email
                                                                                                                                             Attn: William A. Hazeltine
                                                                                                                                             919 N. Market Street
                                                                                                                                             Suite 420
Counsel to Whirlpool Corporation                                                                     Sullivan Hazeltine Allinson LLC         Wilmington DE 19801                                           whazeltine@sha‐llc.com             Email
                                                                                                                                             Attn: Charles S. Stahl, Jr.
                                                                                                                                             2525 Cabot Drive
                                                                                                                                             Suite 204
Counsel to Raymond Leasing Corporation                                                               Swanson, Martin & Bell, LLP             Lisle IL 60532                                                cstahl@smbtrials.com               Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                      Attn: Jeffrey Rhodes
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                         2001 L Street, NW, Suite 500
Roseff LLC                                                                                           Tayman Lane Chaverri LLP                Washington DC 20036                                           jrhodes@tlclawfirm.com             Email
                                                                                                                                             Attn: Bradshaw Rost
                                                                                                                                             4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                                                    Tenenbaum & Saas, P.C.                  Chevy Chase MD 20815                                          BRost@tspclaw.com                  Email

                                                                                                                                           Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                                           Bankruptcy & Collections Division
                                                                                                                                           P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                                            Texas Attorney General's Office             Austin TX 78711‐2548                                            christopher.murphy@oag.texas.gov   Email
                                                                                                                                           Attn: William Ehrlich
                                                                                                                                           444 Executive Center Blvd, Suite 240
Counsel to Cielo Paso Las Tiendas, L.P.                                                        The Ehrlich Law Firm                        El Paso TX 79902                                                william@ehrlichlawfirm.com         Email




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                                                                                                                                  Overnight Core/2002 Service List
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                                                    DESCRIPTION                                                NAME                                              ADDRESS                             FAX                             EMAIL           METHOD OF SERVICE
                                                                                                                                        Attn: Louis F Solimine
                                                                                                                                        312 Walnut Street
                                                                                                                                        Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                               Thompson Hine LLP                            Cincinnati OH 45202‐4029                                               Louis.Solimine@ThompsonHine.com   Email
                                                                                                                                        Attn: Michael B. Pugh
                                                                                                                                        2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                                  Thompson O'Brien Kappler & Nasuti PC         Peachtree Corners GA 30092                                             mpugh@tokn.com                    Email
                                                                                                                                        Attn: Stephen B. Gerald
                                                                                                                                        200 Continental Drive, Suite 401
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing Herbs            Tydings & Rosenberg LLP                      Newark DE 19713                                                        sgerald@tydings.com               Email
                                                                                                                                        Attn: David C. Weiss & Ellen Slights
                                                                                                                                        U.S. Attorney's Office
                                                                                                                                        1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                                 U.S. Attorney for Delaware                   Wilmington DE 19801                                     302‐573‐6220                                     Facsimile
                                                                                                                                        Secretary of the Treasury
                                                                                           U.S. Securities and Exchange Commission ‐    100 F. Street NE
Securities and Exchange Commission                                                         Headquarters                                 Washington DC 20549                                                    secbankruptcy@sec.gov             Email
                                                                                                                                        Attn: Geoffrey J. Peters
                                                                                                                                        5475 Rings Road
                                                                                                                                        Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                                Weltman, Weinberg & Reis Co. LPA             Dublin OH 43017                                                        bronationalecf@weltman.com        Email
                                                                                                                                        Attn: Bojan Guzina
                                                                                                                                        111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                                 White & Case LLP                             Chicago IL 60606                                                       bojan.guzina@whitecase.com        Email
                                                                                                                                                                                                               cshore@whitecase.com
                                                                                                                                        Attn: J. Christopher Shore, Samuel P. Hershey, Andrew                  sam.hershey@whitecase.com
                                                                                                                                        Zatz, Erin Smith, Brett Bakemeyer                                      azatz@whitecase.com
                                                                                                                                        1221 Avenue of the Americas                                            erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                                 White & Case LLP                             New York NY 10020‐1095                                                 brett.bakemeyer@whitecase.com     Email
                                                                                                                                        Attn: Thomas Lauria
                                                                                                                                        200 South Biscayne Boulevard, Suite 4900
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of Freedom Lenders White & Case LLP                            Miami FL 33131                                                         tlauria@whitecase.com             Email
                                                                                                                                        Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L.                  dsinclair@willkie.com
                                                                                                                                        Feldman, Joseph R. Brandt                                              mfeldman@willkie.com
                                                                                                                                        787 Seventh Avenue                                                     bfeldman@willkie.com
Counsel to Debtors and Debtors In Possession                                               Willkie Farr & Gallagher LLP                 New York NY 10019                                                      jbrandt@willkie.com               Email
                                                                                                                                        Attn: Edmon L. Morton, Matthew B. Lunn, Allison S.
                                                                                                                                        Mielke, Shella Borovinskaya                                            emorton@ycst.com
                                                                                                                                        Rodney Square                                                          mlunn@ycst.com
                                                                                                                                        1000 N. King Street                                                    amielke@ycst.com
Counsel to Debtors and Debtors In Possession                                               Young Conaway Stargatt & Taylor, LLP         Wilmington DE 19801                                                    sborovinskaya@ycst.com            Email




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                      NAME                                               ADDRESS                                      CITY             STATE POSTAL CODE                 EMAIL                  METHOD OF SERVICE

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
1230 Zion, LLC                                  Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
4116 OBT Investments, LLC                       Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email
                                                c/o Goldstein & McClintock LLP, Attn: Maria Aprile
6001 Powerline Road, LLC                        Sawczuk, 500 Silverside Road, Suite 65                         Wilmington          DE       19809          marias@goldmclaw.com             Email
Accelerated Services, Inc                       158‐2 Remington Blvd                                           Ronkonkoma          NY       11779                                           Overnight Mail
                                                c/o Ruff & Cohen, PA, Attn: Lisa C. Cohen, 4010 Newberry
Brierwood Village LLC                           Road, Suite G                                                  Gainesville         FL       32607          lcohen@ruffcohen.com             Email
                                                c/o Womble Bond Dickinson (US) LLP, Attn: Matthew P.
                                                Ward, Lisa Bittle Tancredi, 1313 North Market Street, Suite                                                matthew.ward@wbd‐us.com;
Buddy Mac Holdings, LLC                         1200                                                           Wilmington          DE       19801          lisa.tancredi@wbd‐us.com         Email
                                                c/o The Rosner Law Group LLC, Attn: Frederick B. Rosner,
Daniel P. Hagaman                               824 N. Market Street, Suite 810                                Wilmington          DE       19801                                           Overnight Mail

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
Merchant 33, LLC                                Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
Niagara Falls 778, LLC                          Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email
                                                c/o Faegre Drinker Biddle & Reath LLP, Attn: Brian P.
Prologis, LP                                    Morgan, 1177 Avenue of the Americas, 41st Floor                New York            NY       10036          brian.morgan@faegredrinker.com   Email
                                                c/o Faegre Drinker Biddle & Reath LLP, Attn: Ian J.
Prologis, LP                                    Bambrick, 222 Delaware Ave., Suite 1410                        Wilmington          DE       19801          ian.bambrick@faegredrinker.com   Email

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
Rodi Road 501, LLC                              Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email

                                                c/o Gellert Seitz Busenkell & Brown, LLC, Attn: Gary F. Seitz,                                             gseitz@gsbblaw.com;
SW 17th Street 1010, LLC                        Michael Van Gorder, 1201 North Orange Street, Suite 300 Wilmington                 DE       19801          mvangorder@gsbblaw.com           Email
                                                Attn: William M. Uptegrove, 950 East Paces Ferry Rd NE,
US Securities and Exchange Commission           Suite 900                                                      Atlanta             GA       30326          uptegrovew@sec.gov               Email




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                                                                                                                                   Core/2002 Service List
                                                                                                                                  Served as set forth below

                                                    DESCRIPTION                                                         NAME                                              ADDRESS                                           EMAIL        METHOD OF SERVICE
                                                                                                                                               Attn: Marty L. Brimmage, Jr.
                                                                                                                                               2300 N. Field Street
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     Suite 1800
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP          Dallas TX 75201                                          mbrimmage@akingump.com        Email
                                                                                                                                               Attn: Michael S. Stamer, Brad M. Kahn, Avi E. Luf        mstamer@akingump.com
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     One Bryant Park                                          bkahn@akingump.com
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP          New York NY 10036                                        aluft@akingump.com            Email
                                                                                                                                               Attn: Michael D. DeBaecke
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     500 Delaware Avenue, 8th Floor
Committee of the Board of each of the Retaining Debtors                                            Ashby & Geddes, P.A.                        Wilmington DE 19801                                      mdebaecke@ashbygeddes.com     Email
                                                                                                                                               Attn: Matthew P. Austria
                                                                                                                                               1007 N. Orange Street, 4th Floor
Counsel for Dell Financial Services, L.L.C.                                                        Austria Legal, LLC                          Wilmington DE 19801                                      maustria@austriallc.com       Email
                                                                                                                                               Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A.
                                                                                                                                               Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP, Continental Realty                                                     919 North Market Street                                  heilmanl@ballardspahr.com
Corporation, Federal Realty OP LP, FR Grossmont, LLC, Prime/FRIT Mission Hills, LLC, and                                                       11th Floor                                               roglenl@ballardspahr.com
ShopOne Centers REIT, Inc.                                                                         Ballard Spahr LLP                           Wilmington DE 19801                                      vesperm@ballardspahr.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Kevin M. Newman
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     Barclay Damon Tower
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         125 East Jefferson Street
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           Syracuse NY 13202                                        knewman@barclaydamon.com      Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Niclas A. Ferland
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     545 Long Wharf Drive
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         Ninth Floor
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           New Haven CT 06511                                       nferland@barclaydamon.com     Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Scott L. Fleischer
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     1270 Avenue of the Americas
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         Suite 501
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           New York NY 10020                                        sfleischer@barclaydamon.com   Email
                                                                                                                                               Attn: Kevin G. Collins
                                                                                                                                               222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                                        Barnes & Thornburg LLP                      Wilmington DE 19801                                      kevin.collins@btlaw.com       Email
                                                                                                                                               Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                                               222 Delaware Avenue, Suite 1200                          kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                                            Barnes & Thornburg LLP                    Wilmington DE 19801                                      mark.owens@btlaw.com          Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                        Attn: Ericka F. Johnson
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                           600 N. Market Street, Suite 400
Roseff LLC                                                                                           Bayard, P.A.                              Wilmington DE 19801                                      ejohnson@bayardlaw.com        Email
                                                                                                                                               Attn: Elliot M. Smith
                                                                                                                                               127 Public Square, Suite 4900
Counsel to The ChildSmiles Group, LLC a/k/a Abra Health                                            Benesch Friedlander Coplan & Aronoff LLP    Cleveland OH 44114                                       esmith@beneschlaw.com         Email

                                                                                                                                        Attn: Kevin M. Capuzzi, Juan E. Martinez, Jennifer R. Hoover kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC, TM2, LLC, The ChildSmiles Group, LLC a/k/a Abra                                              1313 North Market Street, Suite 1201                         jmartinez@beneschlaw.com
Health                                                                                        Benesch Friedlander Coplan & Aronoff LLP Wilmington DE 19801‐6101                                      jhoover@beneschlaw.com           Email
                                                                                                                                        Attn: Benjamin Potts, Mae Oberste
                                                                                                                                        500 Delaware Avenue
                                                                                                                                        Suite 901                                                    benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP Wilmington DE 19801                                          mae.oberste@blbglaw.com          Email




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                                                                                                                                      Core/2002 Service List
                                                                                                                                     Served as set forth below

                                                   DESCRIPTION                                                          NAME                                      ADDRESS                                                  EMAIL        METHOD OF SERVICE
                                                                                                                                        Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                                        1251 Avenue of the Americas                                  jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                            thomas.james@blbglaw.com        Email
                                                                                                                                        Attn: Scott Blakeley
                                                                                                                                        530 Technology Drive
                                                                                                                                        Suite 100
Cousnel to Doctor's Best Inc                                                                      Blakeley LC                           Irvine CA 92618                                              SEB@BlakeleyLC.com              Email
                                                                                                                                        Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L.
                                                                                                                                        Williams                                                     mike.schaedle@blankrome.com
                                                                                                                                        1201 N. Market Street, Suite 800                             stanley.tarr@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien Agent and DIP Agent Blank Rome LLP                        Wilmington DE 19801                                          jordan.williams@blankrome.com   Email
                                                                                                                                        Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                                        222 Delaware Ave
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                       Suite 1120                                                   kim@blockleviton.com
Stockholders                                                                                      Block & Leviton, LLP                  Wilmington DE 19801                                          irene@blockleviton.com          Email
                                                                                                                                                                                                     fitzgeraldb@hcfl.gov
                                                                                                                                                  Post Office Box 1110                               stroupj@hcfl.gov
Counsel to Nancy C. Millan, Hillsborough County Tax Collector                                     Brian T. FitzGerald                             Tampa FL 33601‐1110                                connorsa@hcfl.gov               Email
                                                                                                                                                  Attn: Kristen N. Pate
                                                                                                                                                  350 N. Orleans Street
                                                                                                                                                  Suite 300
Counsel to Brookfield Properties Retail Inc                                                       Brookfield Properties Retail Inc                Chicago IL 60654‐1607                              bk@bpretail.com                 Email
                                                                                                                                                  Attn: Shawn M. Christianson
                                                                                                                                                  425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                                                    Buchalter, A Professional Corporation           San Francisco CA 94105‐3493                        schristianson@buchalter.com     Email
                                                                                                                                                  Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to DDR Carolina                                                    222 Delaware Avenue, Suite 1030
Pavilion, LP, Sylvan Park Apartments, LLC                                                         Burr & Forman LLP                               Wilmington DE 19801                                jfalgowski@burr.com             Email
                                                                                                                                                  Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina Pavilion, LP, Sylvan Park                                                50 North Laura Street, Suite 3000                  esummers@burr.com
Apartments, LLC                                                                                    Burr & Forman LLP                              Jacksonville FL 32202                              drobbins@burr.com               Email
                                                                                                                                                  Attn: James H. Haithcock, III
                                                                                                                                                  420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                                                  Burr & Forman LLP                               Birmingham AL 35203                                jhaithcock@burr.com             Email
                                                                                                                                                  Attn: Richard J. McCord
                                                                                                                                                  90 Merrick Avenue
                                                                                                                                                  9th Floor
Counsel to 3644 Long Beach Road LLC                                                               Certilman Balin Adler & Hyman, LLP              East Meadow NY 11554                               rmccord@certilmanbalin.com      Email
                                                                                                                                                  Attn: Mark L. Desgrosseilliers
                                                                                                                                                  Hercules Plaza
                                                                                                                                                  1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                                          Chipman Brown Cicero & Cole, LLP                Wilmington DE 19801                                desgross@chipmanbrown.com       Email
                                                                                                                                                  Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC, Vestar‐                                                 901 Main Street, Suite 6000
CPT Tempe Marketplace, LLC                                                                        Clark Hill PLC                                  Dallas TX 75202                                    ahornisher@clarkhill.com        Email
                                                                                                                                                  Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC, Vestar‐                                                 824 N. Market Street, Suite 710
CPT Tempe Marketplace, LLC                                                                        Clark Hill PLC                                  Wilmington DE 19801                                kgrivner@clarkhill.com          Email
                                                                                                                                                  Attn: Bruce Z. Walker
                                                                                                                                                  3350 Riverwood Parkway, Suite 1600
Counsel to Horizon Jajo, LLC                                                                      Cohen Pollock Merlin Turner, P.C.               Atlanta GA 30339                                   bwalker@cpmtlaw.com             Email
                                                                                                                                                  Attn: John D. Landwehr
                                                                                                                                                  231 Madison Street
Counsel to Missouri Boulevard Investment Company                                                  Cook, Vetter, Doerhoff & Landwehr, P.C.         Jefferson City MO 65101                            jlandwehr@cvdl.net              Email




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                                                                                                                                      Exhibit C
                                                                                                                                Core/2002 Service List
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                                                    DESCRIPTION                                                      NAME                                               ADDRESS                                   EMAIL               METHOD OF SERVICE
                                                                                                                                            Attn: Belkys Escobar
                                                                                                                                            One Harrison Street, SE, 5th Floor
                                                                                                                                            PO Box 7000
Counsel to County of Loudoun, Virginia                                                         County of Loudoun, Virginia                  Leesburg VA 20177‐7000                           belkys.escobar@loudoun.gov            Email
                                                                                                                                            Attn: William L. Siegel
                                                                                                                                            901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                                         Cowles & Thompson, P.C.                      Dallas TX 75202                                  bsiegel@cowlesthompson.com            Email
                                                                                                                                            Attn: Brian L. Shaw
                                                                                                                                            123 North Wacker Drive
                                                                                                                                            Suite 1800
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                           Cozen O'Connor                               Chicago IL 60606                                 bshaw@cozen.com                       Email
                                                                                                                                            Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                                            1201 N. Market Street
                                                                                                                                            Suite 1001                                       mbenedek@cozen.com
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                           Cozen O'Connor                               Wilmington DE 19801                              kekiner@cozen.com                     Email
                                                                                                                                            Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior Ventures                                             1105 North Market Street, Suite 901
LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                                  Cross & Simon, LLC                          Wilmington DE 19801                              csimon@crosslaw.com                   Email
                                                                                                                                            Attn: Kevin S. Mann
                                                                                                                                            1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                                 Cross & Simon, LLC                           Wilmington DE 19801                              kmann@crosslaw.com                    Email
                                                                                                                                            Attn: Stephen B. Porterfield
                                                                                                                                            2311 Highland Avenue South
                                                                                                                                            P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                                    Dentons Sirote PC                            Birmingham AL 35255‐5727                         stephen.porterfield@dentons.com       Email
                                                                                                                                            Attn: Christopher M. Winter, James C. Carignan
                                                                                                                                            1201 N. Market Street, Suite 501                 cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                               Duane Morris LLP                             Wilmington DE 19801                              jccarignan@duanemorris.com            Email
                                                                                                                                            Attn: Michael T. Gustafson
                                                                                                                                            320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                     Faegre Drinker Biddle & Reath LLP            Chicago IL 60606                                 mike.gustafson@faegredrinker.com      Email
                                                                                                                                            Attn: Patrick A. Jackson
                                                                                                                                            222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                     Faegre Drinker Biddle & Reath LLP            Wilmington DE 19801                              patrick.jackson@faegredrinker.com     Email
                                                                                                                                            Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                                            919 North Market Street
                                                                                                                                            12th Floor                                       bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                                     Farnan LLP                                   Wilmington DE 19801                              mfarnan@farnanlaw.com                 Email
                                                                                                                                            Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                                            3300 Great American Tower
                                                                                                                                            301 East Fourth Street                           eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                                    Frost Brown Todd LLP                         Cincinnati OH 45202                              jkleisinger@fbtlaw.com                Email
                                                                                                                                            Attn: Sloane B. O’Donnell
                                                                                                                                            Union Trust Building
                                                                                                                                            501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                                           Frost Brown Todd LLP                         Pittsburgh PA 15219                              sodonnell@fbtlaw.com                  Email
                                                                                                                                            Attn: Lorenzo Nunez
                                                                                                                                            PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                         GM Financial Leasing                         Arlington TX 76096                               Customer.service.bk@gmfinancial.com   Email
                                                                                                                                            Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                                            222 Delaware Avenue
                                                                                                                                            Suite 1600                                       Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                                     Greenberg Traurig, LLP                       Wilmington DE 19801                              Dennis.Meloro@gtlaw.com               Email




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                                                                                                                                            Exhibit C
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                                                    DESCRIPTION                                                      NAME                                                   ADDRESS                                                  EMAIL                  METHOD OF SERVICE
                                                                                                                                                  Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port of Houston                                                     Attn: Property Tax Division
Authority, Harris County Hospital District, and Harris County Department of Education                                                             P.O. Box 2848
(hereinafter “Harris County”)                                                                    Harris County Attorney’s Office                  Houston TX 77252                                              taxbankruptcy.cao@harriscountytx.gov     Email
                                                                                                                                                  Attn: Phillip W. Nelson
                                                                                                                                                  150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                                  Holland & Knight LLP                             Chicago IL 60606                                              phillip.nelson@hklaw.com                 Email
                                                                                                                                                  Centralized Insolvency Operation
                                                                                                                                                  P.O. Box 7346
IRS Insolvency Section                                                                           Internal Revenue Service                         Philadelphia PA 19101‐7346                                                                             First Class Mail
                                                                                                                                                  Attn: William J. Levant
                                                                                                                                                  910 Harvest Drive
                                                                                                                                                  Post Office Box 3037
Counsel to 100 Brentwood Associates, L.P.                                                        Kaplin Stewart Meloff Reiter & Stein, P.C.       Blue Bell PA 19422                                            wlevant@kaplaw.com                       Email

Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,                                                          Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick   KDWBankruptcyDepartment@kelleydrye.com
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                         3 World Trade Center                                          rlehane@kelleydrye.com
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                      175 Greenwich Street                                          jraviele@kelleydrye.com
Owner LLC, and SITE Centers Corp.                                                                Kelley Drye & Warren LLP                         New York NY 10007                                             aselick@kelleydrye.com                   Email
                                                                                                                                                  Attn: Michelle Leeson, Paralegal, Collections Specialist,
                                                                                                                                                  CFCA
                                                                                                 Ken Burton, Jr., Manatee County Tax              1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                                         Collector                                        Brandenton FL 34205‐7863                                      legal@taxcollector.com                   Email
                                                                                                                                                  Attn: Scott A. Bachert
                                                                                                                                                  1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier Dover LLC,                                                    P. O. Box 9547
Frontier Kissimmee LLC                                                                           Kerrick Bachert PSC                              Bowling Green KY 42102‐9547                                                                            First Class Mail
                                                                                                                                                  Attn: J. Daniel Albert, Michael McCutcheon
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                                 280 King of Prussia Rd                                        dalbert@ktmc.com
Stockholders                                                                                     Kessler Topac Meltzer & Check LLP                Radnor PA 19087                                               mmcutcheon@ktmc.com                      Email
                                                                                                                                                  Attn: Connor K. Casas
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis            333 West Wolf Point Plaza
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                                Chicago IL 60654                                              connor.casas@kirkland.com                Email
                                                                                                                                                  Attn: Steven N. Serajeddini P.C.
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis            601 Lexington Avenue
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                                New York NY 10022                                             steven.serajeddini@kirkland.com          Email
                                                                                                                                                  Attn: Domenic E. Pacitti
                                                                                                                                                  919 N. Market Street, Suite 1000
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP              Wilmington DE 19801‐3062                                      dpacitti@klehr.com                       Email
                                                                                                                                                  Attn: Morton R. Branzburg
                                                                                                                                                  1835 Market Street, Suite 1400
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP              Philadelphia PA 19103                                         mbranzburg@klehr.com                     Email
                                                                                                                                                  Attn: Jeffrey Kurtzman
                                                                                                                                                  101 N. Washington Avenue
                                                                                                                                                  Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                                                   Kurtzman Steady LLC                              Margate NJ 08402                                              kurtzman@kurtzmansteady.com              Email
                                                                                                                                                  Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                                                  919 Market Street Suite 1800                                  landis@lrclaw.com
                                                                                                                                                  P.O. Box 2087                                                 mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                Landis Rath & Cobb LLP                           Wilmington DE 19801                                           erogers@lrclaw.com                       First Class Mail and Email
                                                                                                                                                  Attn: Andrew Sorkin
                                                                                                                                                  555 Eleventh Street NW
                                                                                                                                                  Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                   Latham & Watkins LLP                             Washington DC 20004                                           andrew.sorkin@lw.com                     Email




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                                                                                                                                        Core/2002 Service List
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                                                    DESCRIPTION                                                         NAME                                                  ADDRESS                                         EMAIL           METHOD OF SERVICE
                                                                                                                                                    Attn: James Kstanes, Timothy Beau Parker
                                                                                                                                                    330 N Wabash Avenue
                                                                                                                                                    Suite 2800                                            james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                        Latham & Watkins LLP                          Chicago IL 60611 Canada                               beau.parker@lw.com               Email
                                                                                                                                                    Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin   Jennifer.Ezring@lw.com
                                                                                                                                                    1271 Avenue of the Americas                           James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                                                    Latham & Watkins LLP                          New York NY 10020                                     andrew.sorkin@lw.com             First Class Mail and Email
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                           Attn: Susan E. Kaufan
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                        919 N. Market Street, Suite 460
Owner LLC, and SITE Centers Corp.                                                                     Law Office of Susan E. Kaufman                Wilmington DE 19801                                   skaufman@skaufmanlaw.com         Email
                                                                                                                                                    Attn: Diane W. Sanders
                                                                                                                                                    PO Box 17428
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County, City of McAllen               Linebarger Goggan Blair & Sampson, LLP        Austin TX 78760‐7428                                  austin.bankruptcy@lgbs.com       Email
                                                                                                                                                    Attn: Don Stecker
                                                                                                                                                    112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                                              Linebarger Goggan Blair & Sampson, LLP        San Antonio TX 78205                                  sanantonio.bankruptcy@lgbs.com   Email
                                                                                                                                                    Attn: John K. Turner
                                                                                                                                                    2777 N. Stemmons Freeway
                                                                                                                                                    Suite 1000
Counsel to Dallas County                                                                              Linebarger Goggan Blair & Sampson, LLP        Dallas TX 75207                                       dallas.bankruptcy@lgbs.com       Email
Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall CAD, Tarrant
County, Navarro County, Smith County, Ellis County, City of Sulphur Springs, Wise County, Tom                                                       Attn: John Kendrick Turner
Green CAD, Grayson County, Gregg County, Prosper ISD, Town of Prosper, City of Carrollton,                                                          3500 Maple Avenue
Northwest ISD, City of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD,                                                 Suite 800
Parker CAD                                                                                            Linebarger Goggan Blair & Sampson, LLP        Dallas TX 75219                                       dallas.bankruptcy@lgbs.com       Email

Counsel to Cypress‐Fairbanks ISD, Harris County, Galveston County, Montgomery County, Ford
Bend County, Katy ISD, Harris CO ESD # 08, City of Houston, Montgomery County, Harris CO ESD
# 48, Lone Star College System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston                                                      Attn: Tara L. Grundemeier
County, Harris CO ESD # 09, Cypress‐Fairbanks ISD, Deer Park ISD, Fort Bend County, Houston                                                         PO Box 3064
Comm Coll System, City of Pasadena, Jefferson County                                           Linebarger Goggan Blair & Sampson, LLP               Houston TX 77253‐3064                                 houston_bankruptcy@lgbs.com      Email
                                                                                                                                                    Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior Ventures                                                     One Lowenstein Drive                                  metkin@lowenstein.com
LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                                  Lowenstein Sandler LLP                              Roseland NJ 07068                                     mpapandrea@lowenstein.com        Email
                                                                                                                                                    Attn: Lisa S. Bonsall
                                                                                                                                                    Four Gateway Center
                                                                                                                                                    100 Mulberry Street
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                       McCarter & English, LLP                       Newark NJ 07102                                       lbonsall@mccarter.com            Email
                                                                                                                                                    Attn: Shannon D. Humiston
                                                                                                                                                    Renaissance Centre
                                                                                                                                                    405 N. King Street, 8th Floor
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                     McCarter & English, LLP                         Wilmington DE 19801                                   shumiston@mccarter.com           Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                             Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                       700 Jeffrey Way, Suite 100
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.         Round Rock TX 78665                                   jparsons@mvbalaw.com             Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                             Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                       P.O. Box 1269
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.         Round Rock TX 78680‐1269                              jparsons@mvbalaw.com             Email
                                                                                                                                                    Attn: David A. Shapiro
                                                                                                                                                    33 N. LaSalle Street
                                                                                                                                                    Suite 1400                                            dshapiro@mckenna‐law.com
Counsel to Parm Golf Center LLC                                                                       McKenna Storer                                Chicago IL 60602                                      service@mckenna‐law.com          Email




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                                                                                                                         Core/2002 Service List
                                                                                                                        Served as set forth below

                                                   DESCRIPTION                                          NAME                                                     ADDRESS                                             EMAIL               METHOD OF SERVICE
                                                                                                                                     Attn: Nicole C. Kenworthy
                                                                                                                                     6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                         Meyers, Rodbell & Rosenbaum, P.A.                Riverdale MD 20737‐1385                                     bdept@mrrlaw.net                     Email
                                                                                                                                     Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                                     1800 West Park Dr., Suite 400                               jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                                    Mirick, O’Connell, DeMallie & Lougee, LLP        Westborough MA 01581                                        scolbert@mirickoconnell.com          Email
                                                                                                                                     Attn: Rachel B. Mersky
                                                                                                                                     1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC                    Monzack Mersky and Browder, P.A.                 Wilmington DE 19801                                         rmersky@monlaw.com                   Email
                                                                                                                                     Attn: Christopher L. Carter
                                                                                                                                     One Federal Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                          Morgan, Lewis & Bockius LLP                      Boston MA 02110‐1726                                        christopher.carter@morganlewis.com   Email
                                                                                                                                     Attn: David K. Shim
                                                                                                                                     One State Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                          Morgan, Lewis & Bockius LLP                      Hartford CT 06103‐3178                                      david.shim@morganlewis.com           Email
                                                                                                                                     Attn: Carl N. Kunz, III, Christopher M. Donnelly
                                                                                                                                     500 Delaware Avenue, Suite 1500                             ckunz@morrisjames.com
Counsel for RCG‐PSC Camp Creek Owner, LLC, University Realty Associates, LLC        Morris James LLP                                 Wilmington DE 19801                                         cdonnelly@morrisjames.com            Email
                                                                                                                                     Attn: Deborah M. Perry
                                                                                                                                     500 N. Akard Street
                                                                                                                                     Suite 4000
Counsel to BC Exchange Salt Pond                                                    Munsch Hardt Kopf & Harr, P.C.                   Dallas TX 75201‐6659                                        dperry@munsch.com                    Email
                                                                                                                                     Attn: Timothy J. Fox, Esq
                                                                                                                                     844 King Street, Suite 2207

                                                                                    Office of the United States Trustee for the      Lockbox 35
United States Trustee for the District of Delaware                                  District of Delaware                             Wilmington DE 19801                                         timothy.fox@usdoj.gov                Email
                                                                                                                                     Attn: Brian J. McLaughlin
                                                                                                                                     222 Delaware Avenue
                                                                                                                                     Suite 1105
Counsel to Rockfirm, LLC                                                            Offit Kurman, PA                                 Wilmington DE 19801                                         Brian.McLaughlin@offitkurman.com     Email
                                                                                                                                     Attn: Tammy Jones
                                                                                                                                     320 Robert S. Kerr
                                                                                                                                     Room 307
Counsel to Oklahoma County Treasurer                                                Oklahoma County Treasurer                        Oklahoma City OK 73102                                      tammy.jones@oklahomacounty.org       Email
                                                                                                                                     Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                                     919 North Market Street, 17th Floor
                                                                                                                                     P.O. Box 8705                                               bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                            Pachulski Stang Ziehl & Jones LLP                Wilmington DE 19899‐8705                                    crobinson@pszjlaw.com                Email
                                                                                                                                     Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S.
                                                                                                                                     Heckel                                                      rfeinstein@pszjlaw.com
                                                                                                                                     780 Third Avenue, 34th Floor                                akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                            Pachulski Stang Ziehl & Jones LLP                New York NY 10017                                           theckel@pszjlaw.com                  Email
                                                                                                                                     Attn: Joseph C. Barsalona II
                                                                                                                                     824 North Market Street
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                    Suite 800
Stockholders                                                                        Pashman Stein Walder Hayden, PC                  Wilmington DE 19801                                         jbarsalona@pashmanstein.com          Email
                                                                                                                                     Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel   jaymegoldstein@paulhastings.com
                                                                                                                                     Fliman                                                      jeremyevans@paulhastings.com
                                                                                                                                     200 Park Avenue                                             isaacsasson@paulhastings.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                   Paul Hastings LLP                                New York NY 10166                                           danfliman@paulhastings.com           First Class Mail and Email
                                                                                                                                     Attn: Nicholas A. Bassett
                                                                                                                                     2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                   Paul Hastings LLP                                Washington DC 20036                                         nicholasbassett@paulhastings.com     Email




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                                                                                                                                   Core/2002 Service List
                                                                                                                                  Served as set forth below

                                                    DESCRIPTION                                                     NAME                                               ADDRESS                                                 EMAIL       METHOD OF SERVICE
                                                                                                                                              Attn: Hiram Gutierrez
                                                                                                  Perdue, Brandon, Fielder, Collins & Mott,   P.O. Box 2916
Cousnel to Brownsville Independent School District                                                L.L.P                                       McAllen TX 78502                                           edinburgbankruptcy@pbfcm.com   Email
                                                                                                                                              Attn: Laura J. Monroe
                                                                                                  Perdue, Brandon, Fielder, Collins & Mott,   PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                                       L.L.P                                       Lubbock TX 79408                                           lmbkr@pbfcm.com                Email
                                                                                                                                              Attn: Sergio E. Garcia
                                                                                                                                              3301 Northland Drive
                                                                                                  Perdue, Brandon, Fielder, Collins & Mott,   Suite 505
Counsel to Kerrville Independent School District, Copperas Cove Independent School District       L.L.P                                       Austin TX 78731                                            sgarcia@pbfcm.com              Email
                                                                                                                                              Attn: Melissa E. Valdez
                                                                                                                                              1235 North Loop West
                                                                                                  Perdue, Brandon, Fielder, Collins & Mott,   Suite 600
Counsel to Magnolia Independent School District and City of Montgomery                            L.L.P.                                      Houston TX 77008                                           mvaldez@pbfcm.com              Email
                                                                                                                                              Attn: Alysia Córdova
                                                                                                  Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                              acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office                                 L.L.P.                                      Amarillo TX 79105                                          amabkr@pbfcm.com               Email
                                                                                                                                              Attn: Elisa Hyder
                                                                                                                                              Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                   1717 Arch Street, Suite 2800
Inc., Royal Canin U.S.A., Inc.                                                                    Polsinelli PC                               Philadelphia PA 19103                                      ehyder@polsinelli.com          Email
                                                                                                                                              Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                   222 Delaware Avenue, Suite 1101                            skatona@polsinelli.com
Inc., Royal Canin U.S.A., Inc.                                                                    Polsinelli PC                               Wilmington DE 19801                                        kdevanney@polsinelli.com       Email

                                                                                                                                               Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                                               1313 N. Market Street                                     jryan@potteranderson.com
                                                                                                                                               6th Floor                                                 bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                    Potter Anderson & Corroon LLP                Wilmington DE 19801                                       esulik@potteranderson.com      Email
                                                                                                                                               Attn: L. Kate Mason
                                                                                                                                               411 E. Wisconsin Avenue
                                                                                                                                               Suite 2400
Counsel to Whirlpool Corporation                                                                  Quarles & Brady LLP                          Milwaukee WI 53202                                        Katie.Mason@quarles.com        Email
                                                                                                                                               Attn: Kurt F. Gwynne, Jason D. Angelo
                                                                                                                                               1201 North Market Street, Suite 1500                      kgwynne@reedsmith.com
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                        Reed Smith LLP                               Wilmington DE 19801                                       jangelo@reedsmith.com          Email

                                                                                                                                               Attn: John H. Knight, Amanda R. Steele, Alexander R. Steiger
                                                                                                                                               One Rodney Square                                            knight@rlf.com
                                                                                                                                               920 North King Street                                        steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates                                 Richards Layton & Finger PA                  Wilmington DE 19801                                          steiger@rlf.com             Email
                                                                                                                                               Attn: Steven Fox
                                                                                                                                               Times Square Tower Suite 2506
                                                                                                                                               Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                                          Riemer & Braunstein LLP                      New York NY 10036                                                                        First Class Mail
                                                                                                                                               Attn: Michael L. Schlepp
                                                                                                                                               1550 Wewatta Street, Floor 2
Counsel to Wilson AmCap II LLC                                                                    S&D Law                                      Denver CO 80202                                              mschleep@s‐d.com            Email

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                    Attn: Monique B. DiSabatino, Mark Minuti
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                  1201 North Market Street, Suite 2300
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                             P.O. Box 1266                                             monique.disabatino@saul.com
Summerville Station LLC, and Phillips Edison & Company, Beral, LLLP, Laurel Lakes, LLC             Saul Ewing LLP                              Wilmington DE 19899                                       mark.minuti@saul.com           Email




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                                                                                                                                     Core/2002 Service List
                                                                                                                                    Served as set forth below

                                                   DESCRIPTION                                                      NAME                                                ADDRESS                                        EMAIL             METHOD OF SERVICE

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                      Attn: Turner N. Falk
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                    Centre Square West
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                               1500 Market Street, 38th Floor
Summerville Station LLC, and Phillips Edison & Company                                             Saul Ewing LLP                                Philadelphia PA 19102                          turner.falk@saul.com                  Email
                                                                                                                                                 Attn: Bankruptcy Department
                                                                                                                                                 Brookfield Place
                                                                                                  Securities & Exchange Commission ‐ NY          200 Vesey Street, Suite 400                    bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                                                Office                                         New York NY 10281‐1022                         nyrobankruptcy@sec.gov                First Class Mail and Email
                                                                                                                                                 Attn: Bankruptcy Department
                                                                                                                                                 One Penn Center
                                                                                                  Securities & Exchange Commission ‐             1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                                                Philadelphia Office                            Philadelphia PA 19103                          secbankruptcy@sec.gov                 First Class Mail and Email
                                                                                                                                                 Attn: Alan J. Taylor
                                                                                                                                                 29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)                                 Segal McCambridge Singer & Mahoney             Southfield MI 48034                            ataylor@smsm.com                      Email
                                                                                                                                                 Attn: J. David Forsyth
                                                                                                                                                 400 Poydras Street
                                                                                                                                                 Suite 2550
Counsel to Shanri Holdings Corporation                                                            Sessions, Fishman & Nathan, LLC                New Orleans LA 70130                               jdf@sessions‐law.com              Email
                                                                                                                                                                                                    bateman@sewkis.com
                                                                                                                                                                                                    patel@sewkis.com
                                                                                                                                          Attn: Gregg Bateman, Sagar Patel, Michael Danenberg, John danenberg@sewkis.com
                                                                                                                                          R. Ashmead, Gregg S. Bateman, Andrew J. Matott            ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as Prepetition First Lien Agent                                         One Battery Park Plaza                                    bateman@sewkis.com
and DIP Agent                                                                                     Seward & Kissel LLP                     New York NY 10004                                         matott@sewkis.com                 First Class Mail and Email
                                                                                                                                          Attn: Eric S. Goldstein                                   egoldstein@goodwin.com
                                                                                                                                          One Constitution Plaza                                    bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                                        Shipman & Goodwin LLP                   Hartford CT 06103‐1919                                    bankruptcyparalegal@goodwin.com   Email
                                                                                                                                          Attn: William F. McDonald III
                                                                                                                                          10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                                           ShopCore Properties                     San Diego CA 92127                                        wmcdonald@shopcore.com            Email
                                                                                                                                          Attn: Ronald M. Tucker
                                                                                                                                          225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                    Simon Property Group, Inc.              Indianapolis IN 46204                                     rtucker@simon.com                 Email
                                                                                                                                          Attn: Michelle E. Shriro
                                                                                                                                          16200 Addison Road, Suite 140
Counsel to Village at the Mall Holdings, LLC, Bridge33 Capital LLC                                Singer & Levick, P.C.                   Addison TX 75001                                          mshriro@singerlevick.com          Email
                                                                                                                                          Attn: Dana S. Plon
                                                                                                                                          123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                                    Sirlin Lesser & Benson, P.C.            Philadelphia PA 19109                                     dplon@sirlinlaw.com               Email
                                                                                                                                          Attn: Joseph H. Lemkin
                                                                                                                                          PO Box 5315
Counsel to Peoria Rental Properties, LLC                                                          Stark & Stark, P.C.                     Princeton NJ 08543                                        jlemkin@stark‐stark.com           Email
                                                                                                                                          Attn: Sabrina L. Streusand
                                                                                                                                          1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                                          Streusand, Landon Ozburn & Lemmon, LLP Austin TX 78746                                            streusand@slollp.com              Email
                                                                                                                                          Attn: G. James Landon
                                                                                                                                          1801 S. Mopac Expressway, Suite 320
Counsel for Dell Financial Services, L.L.C.                                                       Streusand, Landon, Ozburn & Lemmon, LLP Austin TX 78746                                           landon@slollp.com                 Email




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                                                                                                                                      Core/2002 Service List
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                                                    DESCRIPTION                                                       NAME                                                    ADDRESS                                              EMAIL          METHOD OF SERVICE
                                                                                                                                                  Attn: William A. Hazeltine
                                                                                                                                                  919 N. Market Street
                                                                                                                                                  Suite 420
Counsel to Whirlpool Corporation                                                                   Sullivan Hazeltine Allinson LLC                Wilmington DE 19801                                       whazeltine@sha‐llc.com             Email
                                                                                                                                                  Attn: Charles S. Stahl, Jr.
                                                                                                                                                  2525 Cabot Drive
                                                                                                                                                  Suite 204
Counsel to Raymond Leasing Corporation                                                               Swanson, Martin & Bell, LLP                  Lisle IL 60532                                            cstahl@smbtrials.com               Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                           Attn: Jeffrey Rhodes
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                              2001 L Street, NW, Suite 500
Roseff LLC                                                                                           Tayman Lane Chaverri LLP                     Washington DC 20036                                       jrhodes@tlclawfirm.com             Email
                                                                                                                                                  Attn: Bradshaw Rost
                                                                                                                                                  4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                                                  Tenenbaum & Saas, P.C.                         Chevy Chase MD 20815                                      BRost@tspclaw.com                  Email

                                                                                                                                                  Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                                                  Bankruptcy & Collections Division
                                                                                                                                                  P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                                                Texas Attorney General's Office                Austin TX 78711‐2548                                      christopher.murphy@oag.texas.gov   Email
                                                                                                                                                  Attn: William Ehrlich
                                                                                                                                                  444 Executive Center Blvd, Suite 240
Counsel to Cielo Paso Las Tiendas, L.P.                                                            The Ehrlich Law Firm                           El Paso TX 79902                                          william@ehrlichlawfirm.com         Email
                                                                                                                                                  Attn: Louis F Solimine
                                                                                                                                                  312 Walnut Street
                                                                                                                                                  Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                                       Thompson Hine LLP                              Cincinnati OH 45202‐4029                                  Louis.Solimine@ThompsonHine.com    Email
                                                                                                                                                  Attn: Michael B. Pugh
                                                                                                                                                  2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                                          Thompson O'Brien Kappler & Nasuti PC           Peachtree Corners GA 30092                                mpugh@tokn.com                     Email
                                                                                                                                                  Attn: Stephen B. Gerald
                                                                                                                                                  200 Continental Drive, Suite 401
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing Herbs                    Tydings & Rosenberg LLP                        Newark DE 19713                                           sgerald@tydings.com                Email
                                                                                                                                                  Attn: David C. Weiss & Ellen Slights
                                                                                                                                                  U.S. Attorney's Office
                                                                                                                                                  1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                                         U.S. Attorney for Delaware                     Wilmington DE 19801                                                                          First Class Mail
                                                                                                                                                  Secretary of the Treasury
                                                                                                   U.S. Securities and Exchange Commission ‐      100 F. Street NE
Securities and Exchange Commission                                                                 Headquarters                                   Washington DC 20549                                       secbankruptcy@sec.gov              First Class Mail and Email
                                                                                                                                                  Attn: Geoffrey J. Peters
                                                                                                                                                  5475 Rings Road
                                                                                                                                                  Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                                        Weltman, Weinberg & Reis Co. LPA               Dublin OH 43017                                           bronationalecf@weltman.com         Email
                                                                                                                                                  Attn: Bojan Guzina
                                                                                                                                                  111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                                         White & Case LLP                               Chicago IL 60606                                            bojan.guzina@whitecase.com       First Class Mail and Email
                                                                                                                                                                                                              cshore@whitecase.com
                                                                                                                                                  Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, sam.hershey@whitecase.com
                                                                                                                                                  Erin Smith, Brett Bakemeyer                                 azatz@whitecase.com
                                                                                                                                                  1221 Avenue of the Americas                                 erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                                         White & Case LLP                               New York NY 10020‐1095                                      brett.bakemeyer@whitecase.com    Email
                                                                                                                                                  Attn: Thomas Lauria
                                                                                                                                                  200 South Biscayne Boulevard, Suite 4900
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of Freedom Lenders White & Case LLP                                      Miami FL 33131                                              tlauria@whitecase.com            First Class Mail and Email




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                                                                                                         Core/2002 Service List
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                                                   DESCRIPTION                              NAME                                                 ADDRESS                                                EMAIL      METHOD OF SERVICE
                                                                                                                       Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L.      dsinclair@willkie.com
                                                                                                                       Feldman, Joseph R. Brandt                                  mfeldman@willkie.com
                                                                                                                       787 Seventh Avenue                                         bfeldman@willkie.com
Counsel to Debtors and Debtors In Possession                             Willkie Farr & Gallagher LLP                  New York NY 10019                                          jbrandt@willkie.com           Email
                                                                                                                       Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke,
                                                                                                                       Shella Borovinskaya                                        emorton@ycst.com
                                                                                                                       Rodney Square                                              mlunn@ycst.com
                                                                                                                       1000 N. King Street                                        amielke@ycst.com
Counsel to Debtors and Debtors In Possession                             Young Conaway Stargatt & Taylor, LLP          Wilmington DE 19801                                        sborovinskaya@ycst.com        Email




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                                                            Rejection Notice Parties Service List
                                                                 Served via Overnight Mail
  ADRID                       NAME                                     ADDRESS                                      CITY     STATE    POSTAL CODE
                                              c/o Luther Lanard, PC, Attn: Elena N. Sandell, 4675
29893159       Don Pet Supplies               MacCarthur Court, Suite 1240                                  Newport Beach    CA      92660
29893158       Don Pet Supplies               Attn: Fadi El Rabaa, 38121 Norton Avenue, Unit 101            West Hollywood   CA      90046
29893160       Fadi El Rabaa                  38121 Norton Avenue, Unit 101                                 West Hollywood   CA      90046
                                              c/o Luther Lanard, PC, Attn: Elena N. Sandell, 4675
29893161       Fadi El Rabaa                  MacCarthur Court, Suite 1240                                  Newport Beach    CA      92660




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